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                IN THE UNITED STATES DISTRICT COURT FOR
                   THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 MARK ANDREWS,

        Plaintiff,

 v.                                                   Case No. 1:22-cv-04259-SDG

 DINESH D’SOUZA, et al.,

        Defendants.

        JOINT MOTION FOR EXTENSION OF DISPOSITIVE MOTION
      DEADLINES AND EXTENSION OF PAGE LIMITATIONS FOR
                 DISPOSITIVE MOTION FILINGS
      Pursuant to Rules II.g and II.h of this Court’s Standing Order Regarding Civil

Litigation, Plaintiff Mark Andrews (“Plaintiff”), Defendants True the Vote, Inc.

(“TTV”), Catherine Engelbrecht (“Ms. Engelbrecht”), and Gregg Phillips (“Mr.

Phillips) (collectively “TTV Defendants”), and Defendants Dinesh D’Souza and

D’Souza Media (collectively “D’Souza Defendants”) (altogether, the “Parties”), by

and through undersigned counsel, respectfully move the Court for: (i) an extension

of page limitations for dispositive motion filings; and (ii) an extension of certain of

the dispositive motion deadlines. In support of this Motion, the Parties state as

follows:

      1.        Plaintiff initiated this action by filing a Complaint on October 26, 2022.

(Dkt. No. 1).
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      2.      The operative First Amended Complaint contains 322 paragraphs as

well as six counts (Count II having already been dismissed). (Dkt. Nos. 27, 106).

      3.      The parties have taken 21 depositions throughout the course of

discovery and produced thousands of documents.

      4.      The Parties jointly request extensions of the page limitations for the

dispositive motion briefing.

      5.      Local Rule 7.1 sets the page limit for motions at 25 pages and reply

briefs at 15 pages “[a]bsent prior permission of the Court.”

      6.      Additionally, this Court’s Standing Order Regarding Civil Litigation

sets the page limit for statements of undisputed material facts at 25 pages “absent

prior permission of the Court.”

      7.      It is Defendants’ position that additional pages for briefing are

necessary given the 322 paragraphs in the Complaint, the number of counts

remaining in the case, and the extensive discovery record. It is Plaintiff’s position

that additional pages for briefing are necessary given the extensive record of

defamatory statements that Plaintiff must address.

      8.      The Parties have conferred and jointly request that the Court extend the

page limitations for dispositive briefing as follows:

           ● 60 pages for opening briefs and oppositions;

           ● 35 pages for replies; and



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            ● 60 pages for statements of undisputed material facts.

      9.       Additionally, the Parties jointly request an extension of time to file

summary judgment responses and replies because good cause exists for an extension,

particularly in light of Plaintiff’s need to respond to multiple summary judgment

motions from both sets of Defendants during the Christmas and New Years holiday.

      10.      Dispositive motions are due on December 12, 2024. (Dkt. 223).

      11.      All parties intend to file motions for summary judgment.

      12.      Responses to dispositive motions are currently due on January 6, 2025,

and replies in support of dispositive motions are currently due on January 27, 2025.

(Dkt. 187).

      13.      To provide adequate time to prepare and respond to dispositive

motions, particularly with the Christmas and New Years holidays taking place

during the three-week response period; to give Plaintiff adequate time to respond to

two sets of summary judgment briefs, which both TTV and D’Souza Defendants

have represented will cover multiple claims; and to account for the additional time

needed to respond to more lengthy legal briefs in the event the Court grants the

requested page extension, the Parties have conferred and jointly request that the

Court extend the following briefing deadlines:

            ● Extend from January 6, 2025 to February 28, 2025, the due date for

               responses to dispositive motions due; and



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            ● Extend from January 27, 2025 to March 28, 2025, the due date for

              replies in support of dispositive motions due.

      14.     The Parties make these requests for good cause, not to prejudice other

parties, and not to unduly delay these proceedings.

      WHEREFORE, Plaintiff Mark Andrews, Defendants True the Vote, Inc.,

Catherine Engelbrecht, Gregg Phillips, Dinesh D’Souza, and D’Souza Media

respectfully request that the Court grant an extension of time for certain dispositive

motion briefing and an extension of the page limitations for dispositive motion

briefing. A proposed Consent Order is attached hereto for the Court’s consideration.

      Served this 5th day of December, 2024.

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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the within and

foregoing JOINT MOTION FOR EXTENSION OF DISPOSITIVE MOTION

DEADLINES        AND     EXTENSION           OF    PAGE     LIMITATIONS            FOR

DISPOSITIVE MOTION FILINGS was electronically filed on the Court’s ECF

filing system, which will automatically serve a copy on all counsel of record.


      This 5th day of December, 2024.

                                             GREENBERG TRAURIG, LLP

                                             /s/ Jake Evans
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                                             Georgia Bar No. 797018

                                             Attorney for Defendants True The Vote,
                                             Inc., Catherine Engelbrecht, and Gregg
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